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                                                                                     Form 1                                                                               Page: 1

                                                           Individual Estate Property Record and Report
                                                                            Asset Cases
Case Number:         10-22876 RCT                                                              Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                        Filed (f) or Converted (c): 12/30/11 (c)
                                                                                               §341(a) Meeting Date:       02/01/12
Period Ending:       03/31/20                                                                  Claims Bar Date:            05/01/12

                                 1                                          2                         3                           4                  5                    6

                       Asset Description                                 Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                          Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                 Remaining Assets

 1       Commercial property located at 3390 Highway 17 N               2,093,918.00                   270,074.00                                        0.00                    FA
           Orig. Description: Commercial property located at 3390
         Highway 17
         N., Bartow, Florida known as "Bartow
         Manufacturing Plant" - book value listed (2010
         assessed value listed as $1,192,546); Imported from
         original petition Doc# 55

 2       Office building located at 2180 American Flyer,                 476,897.00                    476,897.00                                        0.00                    FA
           Orig. Description: Office building located at 2180
         American Flyer,
         Brooksville, Florida - value listed is book value; Imported
         from original petition Doc# 55

 3       Cash on hand.                                                           24.00                       24.00                                       0.00                    FA
           Orig. Description: Petty Cash - Brooksville; Imported
         from original petition Doc# 55

 4       Cash on hand.                                                          500.00                      500.00                                       0.00                    FA
           Orig. Description: Petty Cash - Bartow; Imported from
         original petition Doc# 55

 5       Checking, savings or other financial accounts, c                  55,621.00                      55,621.00                                      0.00                    FA
           Orig. Description: BB&T Bank - Operating Account;
         Imported from original petition Doc# 55

 6       Security deposits with public utilities, telepho                   1,000.00                       1,000.00                                      0.00                    FA
           Orig. Description: Utility Deposits; Imported from
         original petition Doc# 55



                                                                                                                                                Printed: 04/16/2020 10:09 AM   V.14.66
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                                                        Individual Estate Property Record and Report
                                                                         Asset Cases
Case Number:         10-22876 RCT                                                         Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                   Filed (f) or Converted (c): 12/30/11 (c)
                                                                                          §341(a) Meeting Date:       02/01/12
Period Ending:       03/31/20                                                             Claims Bar Date:            05/01/12

                                1                                        2                       3                           4                  5                    6

                       Asset Description                              Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                       Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                     and Other Costs)                                                 Remaining Assets

 7       Security deposits with public utilities, telepho                6,709.00                    6,709.00                                       0.00                    FA
           Orig. Description: Lease Deposits; Imported from
         original petition Doc# 55

 8       Security deposits with public utilities, telepho                5,000.00                    5,000.00                                       0.00                    FA
           Orig. Description: Municipal cash bond; Imported from
         original petition Doc# 55

 9       Stock and interests in incorporated and unincorp                    0.00                        0.00                                       0.00                    FA
           Orig. Description: 100% membership interest in Duratek
         Precast
         Structures, LLC (related Debtor); Imported from original
         petition Doc# 55

10       Stock and interests in incorporated and unincorp                    0.00                        0.00                                       0.00                    FA
           Orig. Description: 100% membership interest in Duratek
         Homes, LLC; Imported from original petition Doc# 55

11       Stock and interests in incorporated and unincorp                    0.00                        0.00                                       0.00                    FA
           Orig. Description: 100% membership interest in Duratek
         Installations,
         LLC; Imported from original petition Doc# 55

12       Accounts receivable.                                        2,422,015.00               2,422,015.00                                        0.00                    FA
           Orig. Description: Trade Receivables; Imported from
         original petition Doc# 55

13       Other liquidated debts owing debtor including ta             134,339.00                  134,339.00                                        0.00                    FA
           Orig. Description: Due from Duratek Precast Homes,
         LLC; Imported from original petition Doc# 55


                                                                                                                                           Printed: 04/16/2020 10:09 AM   V.14.66
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                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         10-22876 RCT                                                            Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                      Filed (f) or Converted (c): 12/30/11 (c)
                                                                                             §341(a) Meeting Date:       02/01/12
Period Ending:       03/31/20                                                                Claims Bar Date:            05/01/12

                                1                                         2                         3                           4                  5                    6

                       Asset Description                               Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

14       Other liquidated debts owing debtor including ta                     875.00                      875.00                                  47,078.77                    FA
           Orig. Description: Due from Duratek Installations, LLC;
         Imported from original petition Doc# 55

15       Other liquidated debts owing debtor including ta             2,585,660.00                 2,585,660.00                                        0.00                    FA
           Orig. Description: Due from Duratek Precast Structures,
         LLC (related
         Debtor); Imported from original petition Doc# 55

16       Other liquidated debts owing debtor including ta              347,978.00                    347,978.00                                        0.00                    FA
           Orig. Description: Due from Duratek, LLC; Imported
         from original petition Doc# 55

17       Other liquidated debts owing debtor including ta              108,191.00                    108,191.00                                        0.00                    FA
           Orig. Description: Due from Mt. Peak, LLC; Imported
         from original petition Doc# 55

18       Equitable or future interests, life estates, and              212,546.00                    212,546.00                                        0.00                    FA
           Orig. Description: Stock subscription due from R. Barry
         Stem,
         shareholder; Imported from original petition Doc# 55

19       Equitable or future interests, life estates, and              145,733.00                    145,733.00                                        0.00                    FA
           Orig. Description: Payroll advances and employee
         loans; Imported from original petition Doc# 55

20       Patents, copyrights and other intellectual prope                       0.00                        0.00                                       0.00                    FA
           Orig. Description: U.S. Patent #121760,334; Imported
         from original petition Doc# 55

21       Automobiles, trucks, trailers and other vehicles              164,764.00                    164,764.00                                        0.00                    FA

                                                                                                                                              Printed: 04/16/2020 10:09 AM   V.14.66
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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case Number:         10-22876 RCT                                                           Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                     Filed (f) or Converted (c): 12/30/11 (c)
                                                                                            §341(a) Meeting Date:       02/01/12
Period Ending:       03/31/20                                                               Claims Bar Date:            05/01/12

                                1                                          2                       3                           4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                 Remaining Assets

           Orig. Description: Trailers - net book value; Imported
         from original petition Doc# 55

22       Automobiles, trucks, trailers and other vehicles                 61,207.00                    61,207.00                                      0.00                    FA
           Orig. Description: Trucks - net book value; Imported
         from original petition Doc# 55

23       Automobiles, trucks, trailers and other vehicles                 16,716.00                    16,716.00                                      0.00                    FA
           Orig. Description: Office equipment, furniture and
         computers - net
         book value; Imported from original petition Doc# 55

24       Machinery, fixtures, equipment and supplies used              1,725,832.00               1,725,832.00                                        0.00                    FA
           Orig. Description: Manufacturing Equipment, Forms,
         Cranes net
         book value; Imported from original petition Doc# 55

25       Machinery, fixtures, equipment and supplies used               265,833.00                  265,833.00                                        0.00                    FA
           Orig. Description: Construction Equipment - net book
         value; Imported from original petition Doc# 55

26       Inventory.                                                     750,699.00                  750,699.00                                        0.00                    FA
           Orig. Description: Finished Goods; Imported from
         original petition Doc# 55

27       Inventory.                                                     164,241.00                  164,241.00                                        0.00                    FA
           Orig. Description: Raw Materials; Imported from original
         petition Doc# 55

28       Inventory.                                                     534,401.00                  534,401.00                                        0.00                    FA
           Orig. Description: Formliners; Imported from original

                                                                                                                                             Printed: 04/16/2020 10:09 AM   V.14.66
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                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         10-22876 RCT                                                            Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                      Filed (f) or Converted (c): 12/30/11 (c)
                                                                                             §341(a) Meeting Date:       02/01/12
Period Ending:       03/31/20                                                                Claims Bar Date:            05/01/12

                                1                                         2                         3                           4                  5                    6

                       Asset Description                               Petition/            Estimated Net Value              Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                        Values            Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

         petition Doc# 55

29       Other personal property of any kind not already                 69,247.00                      69,247.00                                100,000.00                    FA
           Orig. Description: Prepaid Insurance; Imported from
         original petition Doc# 55

30       Other personal property of any kind not already                 80,226.00                      80,226.00                                      0.00                    FA
           Orig. Description: Revenue earned, not billed; Imported
         from original petition Doc# 55

31       Other personal property of any kind not already                 43,434.00                      43,434.00                                      0.00                    FA
           Orig. Description: Intangible Assets; Imported from
         original petition Doc# 55

32       OTHER PERSONAL PROPETY OF ANY KIND U (u)                         1,098.29                       1,098.29                                  1,098.29                    FA
          Prepaid rent

33       BANK ACCOUNTS-U (u)                                             13,427.45                      13,427.45                                 13,427.45                    FA
          Funds held in trust during pendency of Chapter 11 case

34       BANK ACCOUNTS                                                          0.00                         0.00                                      0.00                    FA
          SunTrust Checking Account #5806

35       SECURITY DEPOSITS                                                    350.00                      350.00                                       0.00                    FA
          Tampa Electric Co.

36       SECURITY DEPOSITS                                                    300.00                      300.00                                       0.00                    FA
          Tampa Electric Co.

37       SECURITY DEPOSITS                                                1,000.00                       1,000.00                                      0.00                    FA
          Progress Energy

38       SECURITY DEPOSITS                                                    100.00                      100.00                                       0.00                    FA

                                                                                                                                              Printed: 04/16/2020 10:09 AM   V.14.66
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                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        10-22876 RCT                                                               Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:          DURATEK PRECAST TECHNOLOGIES, INC.                                         Filed (f) or Converted (c): 12/30/11 (c)
                                                                                               §341(a) Meeting Date:       02/01/12
Period Ending:      03/31/20                                                                   Claims Bar Date:            05/01/12

                               1                                            2                         3                           4                    5                    6

                       Asset Description                                 Petition/            Estimated Net Value              Property           Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,        Abandoned           Received by      Administered (FA)/
                                                                          Values            Less Liens, Exemptions,       OA=§554(a) abandon.      the Estate       Gross Value of
Ref. #                                                                                          and Other Costs)                                                   Remaining Assets

           TECO Peoples Gas

39       INTERESTS IN INSURANCE POLICIES                                         0.00                          0.00                                         0.00                      FA
           Darwin D&O Policy

40       INTERESTS IN INSURANCE POLICIES                                         0.00                          0.00                                         0.00                      FA
           Hartford Term Policy

41       OTHER PERSONAL PROPETY OF ANY KIND U (u)                          50,000.00                      50,000.00                                         0.00            50,000.00
          State of Florida Unclaimed Funds

41       Assets         Totals (Excluding unknown values)             $12,539,881.74               $10,716,037.74                                   $161,604.51           $50,000.00


     Major Activities Affecting Case Closing:
             8/14/18- receipt $47,078.77 from Fla. Unclaimed Property; 7/19/18 -ltr to Fla. Unclaimed Property re: refund of $47,078.77; 7/11/18 - Order Reopening Case entered;
             DM appointed as Successor Trustee; 7/10/18 - Filed Motion to Reopen Case;

             02/02/12 - Filed Application to Employ Attorney; Submitted standard proposed order; 03/01/13 - Pulled claims for review; 04/29/13 - Case in closing process; 6/7/13-
             FILED OBJECTION TO CLAIMS; 06/12/13 - Sent information to CPA for tax return; Sent email to Dbt's Atty requesting copy of prior year tax return; 11/25/13 -
             SERVED ORDER AND FILED PROOF OF SERVICE RE: ORDER EMPLOYING ACCT; 02/10/14 - Submitted proposed orders on objections to claims; 2/11/14- filed
             POS on Doc No. 342; 343, 344, 345,346, and 347; 03/28/14 - Forwarded letter from IRS to accountant; 04/08/14 - Sent email to Hans Beyer's office re: status of
             withdrawal of POC and preparation of Final Fee App; 04/11/14 - PC Mary at Atty Stichter's office re: pre-filing tax return; 05/13/14 - Received final fee app and
             withdrawal of POC from Hans Beyer; 06/23/14 - Submitted proposed order on Final Fee Application to Hans Beyer; 6/24/2014 - Filed proof of service- doc. no. 360;
             08/14/14 - reviewed UST claim for quarterly fees;

             ***FILED TFR 08/18/14; UST APPROVED 10/23/14; 20 DAY NOTICE SENT 10/27/14;
             12/23/2014-ORDER ALLOWING DISBURSEMENTS ENTERED; 12/26/2014-DISBURSED TO CREDITORS, FILED PROOF OF SERVICE , DOC. NO. 369;



                                                                                                                                                  Printed: 04/16/2020 10:09 AM      V.14.66
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                                                     Individual Estate Property Record and Report
                                                                      Asset Cases
Case Number:       10-22876 RCT                                                         Trustee: (290770)           DOUGLAS N. MENCHISE
Case Name:         DURATEK PRECAST TECHNOLOGIES, INC.                                   Filed (f) or Converted (c): 12/30/11 (c)
                                                                                        §341(a) Meeting Date:       02/01/12
Period Ending:     03/31/20                                                             Claims Bar Date:            05/01/12

                              1                                        2                       3                           4                  5                    6

                     Asset Description                              Petition/          Estimated Net Value              Property         Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled     (Value Determined By Trustee,        Abandoned         Received by      Administered (FA)/
                                                                     Values          Less Liens, Exemptions,       OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                   and Other Costs)                                                 Remaining Assets

            4/14/2015 - TDR FILED- UST APPROVED; 6/3/2015

    Initial Projected Date Of Final Report (TFR): December 31, 2012                 Current Projected Date Of Final Report (TFR): June 30, 2020




                                                                                                                                         Printed: 04/16/2020 10:09 AM   V.14.66
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                                                                              Form 2                                                                                   Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         10-22876 RCT                                                                Trustee:           DOUGLAS N. MENCHISE (290770)
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                          Bank Name:         Mechanics Bank
                                                                                                 Account:           ******6065 - Checking Account
Taxpayer ID #:       **-***1217                                                                  Blanket Bond:      $24,397,000.00 (per case limit)
Period Ending:       03/31/20                                                                    Separate Bond:     N/A

   1           2                           3                                   4                                          5                  6                     7
 Trans.     {Ref #} /                                                                                                  Receipts       Disbursements            Checking
  Date      Check #            Paid To / Received From             Description of Transaction            T-Code           $                 $               Account Balance
01/11/13                  RABOBANK MIGRATION               RABOBANK MIGRATION                            9999-000         14,202.48                                14,202.48
                          TRANSFER IN
01/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  21.78           14,180.70
02/28/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  19.03           14,161.67
03/29/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  19.68           14,141.99
04/30/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  21.69           14,120.30
05/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  20.98           14,099.32
06/28/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  18.92           14,080.40
07/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  22.27           14,058.13
08/30/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  20.22           14,037.91
09/30/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  19.51           14,018.40
10/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  22.18           13,996.22
11/29/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  18.78           13,977.44
12/31/13                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  22.11           13,955.33
01/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  20.73           13,934.60
02/28/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  18.70           13,915.90
03/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  19.34           13,896.56
04/17/14      {29}        AMERISURE INSURANCE              PRE-PAID INSURANCE                            1129-000        100,000.00                               113,896.56
04/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  78.85          113,817.71
05/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                 163.71          113,654.00
06/30/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                 158.02          113,495.98
07/31/14                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                 179.58          113,316.40
12/26/14     11001        DOUGLAS N. MENCHISE              Dividend paid 100.00% on $8,976.29, Trustee   2100-000                                8,976.29         104,340.11
                                                           Compensation; Reference:
12/26/14     11002        DOUGLAS N. MENCHISE              Dividend paid 100.00% on $411.48, Trustee     2200-000                                 411.48          103,928.63
                                                           Expenses; Reference:
12/26/14     11003        DOUGLAS N. MENCHISE,             Dividend paid 100.00% on $3,347.50, Attorney 3110-000                                 3,347.50         100,581.13
                                                                                                   Subtotals :          $114,202.48         $13,621.35
  {} Asset reference(s)                                                                                                                 Printed: 04/16/2020 10:09 AM    V.14.66
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                                                                               Form 2                                                                                     Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         10-22876 RCT                                                                 Trustee:             DOUGLAS N. MENCHISE (290770)
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                           Bank Name:           Mechanics Bank
                                                                                                  Account:             ******6065 - Checking Account
Taxpayer ID #:       **-***1217                                                                   Blanket Bond:        $24,397,000.00 (per case limit)
Period Ending:       03/31/20                                                                     Separate Bond:       N/A

   1           2                          3                                     4                                            5                  6                     7
 Trans.     {Ref #} /                                                                                                     Receipts       Disbursements            Checking
  Date      Check #            Paid To / Received From             Description of Transaction               T-Code           $                 $               Account Balance
                          ESQUIRE                          for Trustee Fees (Trustee Firm); Reference:
12/26/14     11004        JUDITH D. SMITH, C.P.A.          Dividend paid 100.00% on $1,764.00,             3410-000                                 1,764.00          98,817.13
                                                           Accountant for Trustee Fees (Other Firm);
                                                           Reference:
12/26/14     11005        United States Trustee            Dividend paid 100.00% on $11,098.88, U.S.       2950-000                             11,098.88             87,718.25
                                                           Trustee Quarterly Fees; Reference:
12/26/14     11006        FLORIDA ROCK INDUSTRIES INC. Dividend paid 56.54% on $10,456.12, Other           6990-000                                 5,912.13          81,806.12
                                                       Prior Chapter Administrative Expenses;
                                                       Reference:
12/26/14     11007        LAW OFFICE OF HANS               Combined Check for Claims#et_al.                                                     35,702.66             46,103.46
                          CHRISTIAN BEYER, P.A.
                                                             Dividend paid 56.54%           35,699.95      6700-140                                                   46,103.46
                                                             on $63,138.50; Claim# ;
                                                             Filed: $63,138.50
                                                             Dividend paid 56.54%                 2.71     6710-150                                                   46,103.46
                                                             on $4.80; Claim# ; Filed:
                                                             $4.80
12/26/14     11008        STICHTER, RIEDEL, BLAIN &        Combined Check for Claims#et_al.                                                     41,309.81                 4,793.65
                          PROSSER, P.A.
                                                             Dividend paid 56.54%           36,482.14      6210-160                                                       4,793.65
                                                             on $64,521.87; Claim# ;
                                                             Filed: $64,521.87
                                                             Dividend paid 56.54%             4,712.23     6210-160                                                       4,793.65
                                                             on $8,334.00; Claim# ;
                                                             Filed: $8,334.00
                                                             Dividend paid 56.54%              115.44      6220-170                                                       4,793.65
                                                             on $204.17; Claim# ;
                                                             Filed: $204.17

                                                                                                       Subtotals :               $0.00         $95,787.48
  {} Asset reference(s)                                                                                                                    Printed: 04/16/2020 10:09 AM     V.14.66
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                                                                            Form 2                                                                                    Page: 3
                                                        Cash Receipts And Disbursements Record
Case Number:         10-22876 RCT                                                                Trustee:          DOUGLAS N. MENCHISE (290770)
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                          Bank Name:        Mechanics Bank
                                                                                                 Account:          ******6065 - Checking Account
Taxpayer ID #:       **-***1217                                                                  Blanket Bond:     $24,397,000.00 (per case limit)
Period Ending:       03/31/20                                                                    Separate Bond:    N/A

   1           2                        3                                     4                                          5                  6                     7
 Trans.     {Ref #} /                                                                                                 Receipts       Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction            T-Code           $                 $               Account Balance
12/26/14     11009        WILLIAM A. LONG, JR., CPA       Combined Check for Claims#et_al.                                                      4,793.65                 0.00
                                                            Dividend paid 56.54%             4,683.74   6700-100                                                         0.00
                                                            on $8,283.60; Claim# ;
                                                            Filed: $8,283.60
                                                            Dividend paid 56.54%              109.91    6710-110                                                         0.00
                                                            on $194.39; Claim# ;
                                                            Filed: $194.39
                                                                         ACCOUNT TOTALS                                 114,202.48         114,202.48                   $0.00
                                                                             Less: Bank Transfers                        14,202.48               0.00
                                                                         Subtotal                                       100,000.00         114,202.48
                                                                             Less: Payments to Debtors                                              0.00
                                                                         NET Receipts / Disbursements                  $100,000.00       $114,202.48




  {} Asset reference(s)                                                                                                                Printed: 04/16/2020 10:09 AM    V.14.66
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                                                                             Form 2                                                                                 Page: 4
                                                         Cash Receipts And Disbursements Record
Case Number:         10-22876 RCT                                                               Trustee:         DOUGLAS N. MENCHISE (290770)
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                         Bank Name:       Mechanics Bank
                                                                                                Account:         ******5266 - Checking Account
Taxpayer ID #:       **-***1217                                                                 Blanket Bond:    $24,397,000.00 (per case limit)
Period Ending:       03/31/20                                                                   Separate Bond:   N/A

   1           2                           3                                   4                                       5                  6                     7
 Trans.     {Ref #} /                                                                                               Receipts       Disbursements           Checking
  Date      Check #            Paid To / Received From             Description of Transaction         T-Code           $                 $              Account Balance
08/14/18      {14}        STATE OF FLORIDA                 UNCLAIMED FUNDS FROM STATE OF             1129-000          47,078.77                                47,078.77
                          DEPARTMENT OF FINANCIAL          FLORIDA
                          SERVICES
08/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee          2600-000                                   36.11           47,042.66
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee          2600-000                                   36.08           47,006.58
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee          2600-000                                   42.49           46,964.09
03/31/20                  Mechanics Bank                   Bank and Technology Services Fee          2600-000                                   37.53           46,926.56
                                                                          ACCOUNT TOTALS                               47,078.77               152.21          $46,926.56
                                                                              Less: Bank Transfers                          0.00                 0.00
                                                                          Subtotal                                     47,078.77               152.21
                                                                              Less: Payments to Debtors                                          0.00
                                                                          NET Receipts / Disbursements                $47,078.77              $152.21




  {} Asset reference(s)                                                                                                              Printed: 04/16/2020 10:09 AM    V.14.66
                                             Case 8:10-bk-22876-RCT        Doc 379      Filed 04/16/20     Page 12 of 13

                                                                             Form 2                                                                                    Page: 5
                                                         Cash Receipts And Disbursements Record
Case Number:         10-22876 RCT                                                               Trustee:         DOUGLAS N. MENCHISE (290770)
Case Name:           DURATEK PRECAST TECHNOLOGIES, INC.                                         Bank Name:       The Bank of New York Mellon
                                                                                                Account:         ****-******85-65 - Checking Account
Taxpayer ID #:       **-***1217                                                                 Blanket Bond:    $24,397,000.00 (per case limit)
Period Ending:       03/31/20                                                                   Separate Bond:   N/A

   1           2                         3                                     4                                       5                     6                     7
 Trans.     {Ref #} /                                                                                               Receipts          Disbursements           Checking
  Date      Check #            Paid To / Received From             Description of Transaction         T-Code           $                    $              Account Balance
02/10/12      {32}        DURATEK PRECAST                  REFUND OF PREPAID RENT FROM               1229-000              1,098.29                                    1,098.29
                          STRUCTURES, LLC                  BARTOW MUNICIPAL AIRPORT
02/10/12      {33}        STICHTER, RIEDEL, BLAIN &   TURNOVER OF FUNDS HELD IN TRUST                1229-000          13,427.45                                   14,525.74
                          PROSSER, P.A. TRUST ACCOUNT FROM CHAPTER 11 CASE
02/29/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      25.00           14,500.74
03/30/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      29.71           14,471.03
04/30/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      28.66           14,442.37
05/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      32.55           14,409.82
06/29/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      28.54           14,381.28
07/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      31.43           14,349.85
08/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      30.38           14,319.47
09/28/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      27.38           14,292.09
10/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      32.21           14,259.88
11/30/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      29.22           14,230.66
12/31/12                  The Bank of New York Mellon      Bank and Technology Services Fee          2600-000                                      28.18           14,202.48
01/10/13                  RABOBANK MIGRATION               TRANSFER TO 0001029077088                 9999-000                                14,202.48                     0.00
                          TRANSFER OUT                     20130110
                                                                          ACCOUNT TOTALS                                14,525.74            14,525.74                   $0.00
                                                                              Less: Bank Transfers                           0.00            14,202.48
                                                                          Subtotal                                      14,525.74                 323.26
                                                                              Less: Payments to Debtors                                             0.00
                                                                          NET Receipts / Disbursements                 $14,525.74                $323.26




  {} Asset reference(s)                                                                                                                 Printed: 04/16/2020 10:09 AM     V.14.66
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                                                                         Form 2                                                                                  Page: 6
                                                     Cash Receipts And Disbursements Record
Case Number:       10-22876 RCT                                                             Trustee:         DOUGLAS N. MENCHISE (290770)
Case Name:         DURATEK PRECAST TECHNOLOGIES, INC.                                       Bank Name:       The Bank of New York Mellon
                                                                                            Account:         ****-******85-65 - Checking Account
Taxpayer ID #:     **-***1217                                                               Blanket Bond:    $24,397,000.00 (per case limit)
Period Ending:     03/31/20                                                                 Separate Bond:   N/A

  1           2                        3                                   4                                       5                   6                     7
Trans.     {Ref #} /                                                                                            Receipts        Disbursements          Checking
 Date      Check #         Paid To / Received From             Description of Transaction           T-Code         $                  $             Account Balance

                            Net Receipts :        161,604.51
                                               ————————                                                             Net              Net                   Account
                                Net Estate :     $161,604.51          TOTAL - ALL ACCOUNTS                        Receipts      Disbursements              Balances
                                                                      Checking # ******6065                        100,000.00         114,202.48                  0.00
                                                                      Checking # ******5266                         47,078.77             152.21             46,926.56
                                                                      Checking # ****-******85-65                   14,525.74             323.26                  0.00

                                                                                                                  $161,604.51       $114,677.95             $46,926.56




 {} Asset reference(s)                                                                                                            Printed: 04/16/2020 10:09 AM    V.14.66
